Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW MEXICO

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Monica
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Rene
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Miranda
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years FKA Monica Rene Rodriguez
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-6578
     Individual Taxpayer
     Identification number
     (ITIN)




                Case 19-11130-j7
Official Form 101
                                                  Doc 1        Filed 05/13/19         Entered 05/13/19 09:08:44 Page 1 of 57
                                                Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
Debtor 1   Monica Rene Miranda                                                                        Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 6327 Cathy Ave. NE
                                 Albuquerque, NM 87109
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Bernalillo
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




                Case 19-11130-j7
Official Form 101
                                              Doc 1         Filed 05/13/19             Entered 05/13/19 09:08:44 Page 2 of 57
                                              Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
Debtor 1    Monica Rene Miranda                                                                           Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




                Case 19-11130-j7
Official Form 101
                                               Doc 1         Filed 05/13/19            Entered 05/13/19 09:08:44 Page 3 of 57
                                              Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
Debtor 1    Monica Rene Miranda                                                                            Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




                Case 19-11130-j7
Official Form 101
                                               Doc 1        Filed 05/13/19             Entered 05/13/19 09:08:44 Page 4 of 57
                                              Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
Debtor 1    Monica Rene Miranda                                                                        Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




                Case 19-11130-j7
Official Form 101
                                                 Doc 1        Filed 05/13/19              Entered 05/13/19 09:08:44 Page 5 of 57
                                                Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
Debtor 1    Monica Rene Miranda                                                                           Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Monica Rene Miranda
                                 Monica Rene Miranda                                               Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     May 13, 2019                                      Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




                Case 19-11130-j7
Official Form 101
                                              Doc 1         Filed 05/13/19            Entered 05/13/19 09:08:44 Page 6 of 57
                                              Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
Debtor 1   Monica Rene Miranda                                                                            Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Ron Holmes                                                     Date         May 13, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Ron Holmes
                                Printed name

                                Davis Miles McGuire Gardner, PLLC
                                Firm name

                                320 Gold Avenue SW, Suite 1111
                                Albuquerque, NM 87102
                                Number, Street, City, State & ZIP Code

                                Contact phone     505.268.3999                               Email address         rholmes@davismiles.com
                                8979 NM
                                Bar number & State




               Case 19-11130-j7
Official Form 101
                                                Doc 1           Filed 05/13/19      Entered 05/13/19 09:08:44 Page 7 of 57
                                                Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
 Fill in this information to identify your case:

 Debtor 1                   Monica Rene Miranda
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF NEW MEXICO

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             336,850.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             195,455.60

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             532,305.60

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             310,993.62

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                1,208.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              73,044.97


                                                                                                                                     Your total liabilities $               385,246.59


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                4,077.62

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                5,823.53

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy

                 Case 19-11130-j7                       Doc 1            Filed 05/13/19                   Entered 05/13/19 09:08:44 Page 8 of 57
 Debtor 1      Monica Rene Miranda                                                        Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $       6,134.53


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              1,208.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 1,208.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy

              Case 19-11130-j7                      Doc 1            Filed 05/13/19   Entered 05/13/19 09:08:44 Page 9 of 57
 Fill in this information to identify your case and this filing:

 Debtor 1                    Monica Rene Miranda
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF NEW MEXICO

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        6327 Cathy Ave. NE                                                             Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Albuquerque                       NM        87108-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $186,850.00                $186,850.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee Simple
        Bernalillo                                                                     Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                3 bedroom, 2 bath, subject to lien of $169,628.73 by Nationstar Mortgage
                                                                                dba Mr. Cooper
                                                                                Value based on Zillow values




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy

                Case 19-11130-j7                             Doc 1           Filed 05/13/19               Entered 05/13/19 09:08:44 Page 10 of 57
 Debtor 1         Monica Rene Miranda                                                                                           Case number (if known)

        If you own or have more than one, list here:
 1.2                                                                         What is the property? Check all that apply
        7405 Sky Court Cir. NE                                                        Single-family home                              Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                            the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                      Current value of the        Current value of the
        Albuquerque                       NM        87110-0000                        Land                                            entire property?            portion you own?
        City                              State              ZIP Code                 Investment property                                    $150,000.00                 $150,000.00
                                                                                      Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                      Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                      Debtor 1 only                                   Fee Simple
        Bernalillo                                                                    Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                      At least one of the debtors and another              (see instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             3 bedroom, 1 bath, subject to lien of $136,364.89 by Wells Fargo Home
                                                                             Mortgage. Property needs significant repairs. Value based on current
                                                                             condition and needed repairs


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                           $336,850.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:         Mazda                                           Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        CX-5 Touring                                       Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2016                                               Debtor 2 only                                               Current value of the       Current value of the
          Approximate mileage:                       55,219                Debtor 1 and Debtor 2 only                                  entire property?           portion you own?
          Other information:                                               At least one of the debtors and another
         4 door
                                                                           Check if this is community property                                 $14,900.00                  $14,900.00
                                                                           (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                           $14,900.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                              Current value of the
                                                                                                                                                                portion you own?
                                                                                                                                                                Do not deduct secured
                                                                                                                                                                claims or exemptions.
Official Form 106A/B                                                             Schedule A/B: Property                                                                             page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                       Best Case Bankruptcy

               Case 19-11130-j7                              Doc 1        Filed 05/13/19                 Entered 05/13/19 09:08:44 Page 11 of 57
 Debtor 1       Monica Rene Miranda                                                                  Case number (if known)

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Miscellaneous household goods and furnishings, including table,
                                    chairs (4), small appliances, dishes, stove, refrigerators (2), and
                                    freezer                                                                                                        $975.00


                                    Miscellaneous living room goods and furnishings, including
                                    couches (2), chair, table, and lamp                                                                            $270.00


                                    Miscellaneous bedroom goods and furnishings, including beds (2),
                                    tables (3), dressers (3), lamps (3), shelves (5), and desks (2)                                                $590.00


                                    Washing machine, dryer, and vacuum cleaner                                                                     $140.00


                                    Guitar                                                                                                         $250.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Miscellaneous electronics, including television (2), gaming
                                    system, stereo, clock radios (3), laptop computer, cell phones (2),
                                    tablet, and ereader                                                                                          $1,685.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Miscellaneous books, pictures, and portraits                                                                   $400.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    Bicycle, trampoline, and excercise equipment                                                                   $425.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....



Official Form 106A/B                                                    Schedule A/B: Property                                                         page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy

             Case 19-11130-j7                      Doc 1             Filed 05/13/19       Entered 05/13/19 09:08:44 Page 12 of 57
 Debtor 1          Monica Rene Miranda                                                                                               Case number (if known)


                                            Personal and family clothing                                                                                                     $800.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Miscellaneous fine and costume jewelry, including wings (2),
                                            earrings, and necklaces                                                                                                          $700.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                            Purebred pomeranian                                                                                                              $400.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                                 $6,635.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                  Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking                                Sandia Area Federal Credit Union                                         $1,747.00



                                              17.2.       Savings                                 Sandia Area Federal Credit Union                                         $3,038.00



                                              17.3.       Checking                                Wells Fargo                                                                    $2.35



                                              17.4.       Savings                                 Wells Fargo                                                                  $42.00


                                                                                                  Santa Fe Federal Credit Union - daughter's
                                              17.5.       Savings                                 savings                                                                    $681.00



Official Form 106A/B                                                                       Schedule A/B: Property                                                                page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                    Best Case Bankruptcy

              Case 19-11130-j7                                Doc 1               Filed 05/13/19                          Entered 05/13/19 09:08:44 Page 13 of 57
 Debtor 1         Monica Rene Miranda                                                                           Case number (if known)

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                   Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                               % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                              Institution name:

                                          IRA                                 Primerica Financial Services, Inc.                                   $125,976.00


                                          Profit-Sharing Plan                 Reuben G. Gutierrez, DDS 401(k) Profit
                                                                              Sharing Plan                                                           $30,000.00


                                          Roth IRA                            Roth IRA                                                                 $1,000.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                            Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
Official Form 106A/B                                                    Schedule A/B: Property                                                              page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy

              Case 19-11130-j7                      Doc 1            Filed 05/13/19          Entered 05/13/19 09:08:44 Page 14 of 57
 Debtor 1       Monica Rene Miranda                                                                       Case number (if known)

                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




                                                         2018 tax refund                                        State                               $500.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
        Yes. Give specific information......


                                                         $100 monthly and $250 semi-yearly
                                                             beginning July 1, 2013                             Child Support                     $8,600.00


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                   Beneficiary:                        Surrender or refund
                                                                                                                                     value:

                                         Pan-American Life - Disability
                                         insurance                                               Monica Rene Miranda                                    $0.00


                                         Gerber Life Insurance Company -
                                         Dependent is insured party, whole life                  Monica Rene Miranda                              $2,334.25


                                         Primerica Financial Services, Inc. -
                                         Term life                                               Debtor's sister                                  Unknown


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
Official Form 106A/B                                                    Schedule A/B: Property                                                          page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy

             Case 19-11130-j7                      Doc 1             Filed 05/13/19       Entered 05/13/19 09:08:44 Page 15 of 57
 Debtor 1         Monica Rene Miranda                                                                                                   Case number (if known)

        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................         $173,920.60


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                   $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................          $336,850.00
 56. Part 2: Total vehicles, line 5                                                                          $14,900.00
 57. Part 3: Total personal and household items, line 15                                                      $6,635.00
 58. Part 4: Total financial assets, line 36                                                                $173,920.60
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $195,455.60               Copy personal property total      $195,455.60

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $532,305.60




Official Form 106A/B                                                               Schedule A/B: Property                                                                        page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                    Best Case Bankruptcy

               Case 19-11130-j7                           Doc 1            Filed 05/13/19                      Entered 05/13/19 09:08:44 Page 16 of 57
 Fill in this information to identify your case:

 Debtor 1                 Monica Rene Miranda
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW MEXICO

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      6327 Cathy Ave. NE Albuquerque,                                 $186,850.00                              $17,221.27      11 U.S.C. § 522(d)(1)
      NM 87108 Bernalillo County
      3 bedroom, 2 bath, subject to lien of                                                100% of fair market value, up to
      $169,628.73 by Nationstar Mortgage                                                   any applicable statutory limit
      dba Mr. Cooper
      Value based on Zillow values
      Line from Schedule A/B: 1.1

      2016 Mazda CX-5 Touring 55,219                                   $14,900.00                                $4,000.00     11 U.S.C. § 522(d)(2)
      miles
      4 door                                                                               100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                          any applicable statutory limit

      2016 Mazda CX-5 Touring 55,219                                   $14,900.00                                $1,719.29     11 U.S.C. § 522(d)(5)
      miles
      4 door                                                                               100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                          any applicable statutory limit

      Miscellaneous household goods and                                   $975.00                                  $975.00     11 U.S.C. § 522(d)(3)
      furnishings, including table, chairs
      (4), small appliances, dishes, stove,                                                100% of fair market value, up to
      refrigerators (2), and freezer                                                       any applicable statutory limit
      Line from Schedule A/B: 6.1




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy

                Case 19-11130-j7                   Doc 1             Filed 05/13/19        Entered 05/13/19 09:08:44 Page 17 of 57
 Debtor 1    Monica Rene Miranda                                                                         Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Miscellaneous living room goods and                                 $270.00                                   $270.00        11 U.S.C. § 522(d)(3)
     furnishings, including couches (2),
     chair, table, and lamp                                                                100% of fair market value, up to
     Line from Schedule A/B: 6.2                                                           any applicable statutory limit

     Miscellaneous bedroom goods and                                     $590.00                                   $590.00        11 U.S.C. § 522(d)(3)
     furnishings, including beds (2),
     tables (3), dressers (3), lamps (3),                                                  100% of fair market value, up to
     shelves (5), and desks (2)                                                            any applicable statutory limit
     Line from Schedule A/B: 6.3

     Washing machine, dryer, and                                         $140.00                                   $140.00        11 U.S.C. § 522(d)(3)
     vacuum cleaner
     Line from Schedule A/B: 6.4                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Guitar                                                              $250.00                                   $250.00        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 6.5
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Miscellaneous electronics, including                               $1,685.00                                $1,685.00        11 U.S.C. § 522(d)(3)
     television (2), gaming system, stereo,
     clock radios (3), laptop computer,                                                    100% of fair market value, up to
     cell phones (2), tablet, and ereader                                                  any applicable statutory limit
     Line from Schedule A/B: 7.1

     Miscellaneous books, pictures, and                                  $400.00                                   $400.00        11 U.S.C. § 522(d)(3)
     portraits
     Line from Schedule A/B: 8.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bicycle, trampoline, and excercise                                  $425.00                                   $425.00        11 U.S.C. § 522(d)(3)
     equipment
     Line from Schedule A/B: 9.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Personal and family clothing                                        $800.00                                   $800.00        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Miscellaneous fine and costume                                      $700.00                                   $700.00        11 U.S.C. § 522(d)(4)
     jewelry, including wings (2), earrings,
     and necklaces                                                                         100% of fair market value, up to
     Line from Schedule A/B: 12.1                                                          any applicable statutory limit

     Purebred pomeranian                                                 $400.00                                   $400.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 13.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Sandia Area Federal                                      $1,747.00                                $1,747.00        11 U.S.C. § 522(d)(5)
     Credit Union
     Line from Schedule A/B: 17.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy

             Case 19-11130-j7                      Doc 1             Filed 05/13/19        Entered 05/13/19 09:08:44 Page 18 of 57
 Debtor 1    Monica Rene Miranda                                                                         Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Savings: Sandia Area Federal Credit                                $3,038.00                                $3,038.00        11 U.S.C. § 522(d)(5)
     Union
     Line from Schedule A/B: 17.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Wells Fargo                                                  $2.35                                     $2.35       11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 17.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: Wells Fargo                                                 $42.00                                    $42.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 17.4
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: Santa Fe Federal Credit                                    $681.00                                   $681.00        11 U.S.C. § 522(d)(5)
     Union - daughter's savings
     Line from Schedule A/B: 17.5                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA: Primerica Financial Services,                               $125,976.00                             $125,976.00         11 U.S.C. § 522(d)(12)
     Inc.
     Line from Schedule A/B: 21.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Profit-Sharing Plan: Reuben G.                                    $30,000.00                              $30,000.00         11 U.S.C. § 522(d)(10)(E)
     Gutierrez, DDS 401(k) Profit Sharing
     Plan                                                                                  100% of fair market value, up to
     Line from Schedule A/B: 21.2                                                          any applicable statutory limit

     Roth IRA: Roth IRA                                                 $1,000.00                                $1,000.00        11 U.S.C. § 522(d)(10)(E)
     Line from Schedule A/B: 21.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     State: 2018 tax refund                                              $500.00                                   $500.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 28.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Child Support: $100 monthly and                                    $8,600.00                                $8,600.00        11 U.S.C. § 522(d)(10)(D)
     $250 semi-yearly beginning July 1,
     2013                                                                                  100% of fair market value, up to
     Line from Schedule A/B: 29.1                                                          any applicable statutory limit

     Gerber Life Insurance Company -                                    $2,334.25                                $2,334.25        11 U.S.C. § 522(d)(8)
     Dependent is insured party, whole
     life                                                                                  100% of fair market value, up to
     Beneficiary: Monica Rene Miranda                                                      any applicable statutory limit
     Line from Schedule A/B: 31.2

     Primerica Financial Services, Inc. -                               Unknown                                       100%        11 U.S.C. § 522(d)(7)
     Term life
     Beneficiary: Debtor's sister                                                          100% of fair market value, up to
     Line from Schedule A/B: 31.3                                                          any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy

             Case 19-11130-j7                      Doc 1             Filed 05/13/19        Entered 05/13/19 09:08:44 Page 19 of 57
 Debtor 1    Monica Rene Miranda                                                               Case number (if known)

 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                            page 4 of 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                        Best Case Bankruptcy

             Case 19-11130-j7                      Doc 1             Filed 05/13/19   Entered 05/13/19 09:08:44 Page 20 of 57
 Fill in this information to identify your case:

 Debtor 1                   Monica Rene Miranda
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW MEXICO

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         Nationstar Mortgage dba
 2.1                                                                                                          $169,628.73               $186,850.00                     $0.00
         Mr. Cooper                               Describe the property that secures the claim:
         Creditor's Name                          6327 Cathy Ave. NE Albuquerque,
                                                  NM 87108 Bernalillo County
                                                  3 bedroom, 2 bath, subject to lien of
                                                  $169,628.73 by Nationstar Mortgage
                                                  dba Mr. Cooper
                                                  Value based on Zillow values
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 199111                          apply.
         Dallas, TX 75235                             Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          12/27/2010                Last 4 digits of account number        7101




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy

                Case 19-11130-j7                   Doc 1             Filed 05/13/19            Entered 05/13/19 09:08:44 Page 21 of 57
 Debtor 1 Monica Rene Miranda                                                                                 Case number (if known)
               First Name                  Middle Name                      Last Name


         Reuben G. Gutierrez DDS
 2.2                                                                                                                   $5,000.00           $30,000.00             $0.00
         Profit Sharing                             Describe the property that secures the claim:
         Creditor's Name                            Profit-Sharing Plan: Reuben G.
                                                    Gutierrez, DDS 401(k) Profit Sharing
         8400 Osuna Rd. NE, Suite                   Plan
                                                    As of the date you file, the claim is: Check all that
         1B                                         apply.
         Albuquerque, NM 87111                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          8/27/2018                   Last 4 digits of account number


         Wells Fargo Home
 2.3                                                                                                                $136,364.89           $150,000.00             $0.00
         Mortgage                                   Describe the property that secures the claim:
         Creditor's Name                            7405 Sky Court Cir. NE
                                                    Albuquerque, NM 87110 Bernalillo
                                                    County
                                                    3 bedroom, 1 bath, subject to lien of
                                                    $136,364.89 by Wells Fargo Home
                                                    Mortgage. Property needs
                                                    significant repairs. Value based on
                                                    current condition and needed
                                                    repairs
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 10335                             apply.
         Des Moines, IA 50306                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          12/19/2014                  Last 4 digits of account number         8096


   Add the dollar value of your entries in Column A on this page. Write that number here:                                   $310,993.62
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                  $310,993.62

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy

              Case 19-11130-j7                      Doc 1             Filed 05/13/19              Entered 05/13/19 09:08:44 Page 22 of 57
 Fill in this information to identify your case:

 Debtor 1                     Monica Rene Miranda
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF NEW MEXICO

 Case number
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim          Priority               Nonpriority
                                                                                                                                             amount                 amount
 2.1          Internal Revenue Service                               Last 4 digits of account number                          $1,208.00             $1,208.00                    $0.00
              Priority Creditor's Name
              Bankruptcy Department                                  When was the debt incurred?           2018
              P.O. Box 7346
              Philadelphia, PA 19101-7346
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Federal income tax

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                              39685                                                Best Case Bankruptcy

                Case 19-11130-j7                   Doc 1             Filed 05/13/19               Entered 05/13/19 09:08:44 Page 23 of 57
 Debtor 1 Monica Rene Miranda                                                                             Case number (if known)

 4.1      ABCWUA                                                      Last 4 digits of account number       9560                                                 $89.98
          Nonpriority Creditor's Name
          P.O. Box 1313                                               When was the debt incurred?
          Albuquerque, NM 87103
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Utility Services


 4.2      Capital One Bank USA NA                                     Last 4 digits of account number                                                          $958.00
          Nonpriority Creditor's Name
          P.O. box 85015                                              When was the debt incurred?           10/2/2006
          Richmond, VA 23285
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Misc. credit card purchases


 4.3      Chase Card                                                  Last 4 digits of account number                                                        $3,905.00
          Nonpriority Creditor's Name
          301 N. Walnut St., Floor 9                                  When was the debt incurred?           4/20/2013
          Wilmington, DE 19801-3935
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Misc. credit card purchases




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy

             Case 19-11130-j7                      Doc 1             Filed 05/13/19             Entered 05/13/19 09:08:44 Page 24 of 57
 Debtor 1 Monica Rene Miranda                                                                             Case number (if known)

 4.4      CitiCards CBNA                                              Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          P.O. Box 6241                                               When was the debt incurred?           1/1/2017
          Sioux Falls, SD 57117
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Misc. credit card purchases


 4.5      CitiCards CBNA                                              Last 4 digits of account number       0632                                             $7,507.77
          Nonpriority Creditor's Name
          P.O. Box 6241                                               When was the debt incurred?
          Sioux Falls, SD 57117
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Misc. credit card purchases


 4.6      Dell Financial Services                                     Last 4 digits of account number       4859                                             $1,146.45
          Nonpriority Creditor's Name
          P.O. Box 81577                                              When was the debt incurred?
          Austin, TX 78708-1577
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Laptop computer




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 3 of 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy

             Case 19-11130-j7                      Doc 1             Filed 05/13/19             Entered 05/13/19 09:08:44 Page 25 of 57
 Debtor 1 Monica Rene Miranda                                                                             Case number (if known)

 4.7      Discover Bank                                               Last 4 digits of account number       3819                                             $5,260.00
          Nonpriority Creditor's Name
          P.O. Box 15316                                              When was the debt incurred?           1/29/2017
          Wilmington, DE 19850
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Misc. credit card purchases


 4.8      FNB Omaha                                                   Last 4 digits of account number       4255                                           $10,897.00
          Nonpriority Creditor's Name
          P.O. Box 3412                                               When was the debt incurred?           4/1/2013
          Omaha, NE 68197
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Misc. credit card purchases


          NM Taxation & Revenue
 4.9      Department                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 8575                                               When was the debt incurred?
          Albuquerque, NM 87198-8575
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Notice only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 4 of 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy

             Case 19-11130-j7                      Doc 1             Filed 05/13/19             Entered 05/13/19 09:08:44 Page 26 of 57
 Debtor 1 Monica Rene Miranda                                                                             Case number (if known)

 4.1
 0        PayPal                                                      Last 4 digits of account number                                                        $3,378.77
          Nonpriority Creditor's Name
          P.O. Box 105658                                             When was the debt incurred?           2013
          Atlanta, GA 30348-5658
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Misc. credit card purchases


 4.1
 1        Sandia Area Federal Credit Union                            Last 4 digits of account number       3287                                             $3,306.00
          Nonpriority Creditor's Name
          P.O. Box 18044                                              When was the debt incurred?           3/21/2013
          Albuquerque, NM 87185
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Misc. credit card purchases


 4.1
 2        SoFi                                                        Last 4 digits of account number       xx04                                           $14,422.00
          Nonpriority Creditor's Name
          1 Letterman Drive, Bldg A, Suite                            When was the debt incurred?           7/20/2015
          4700
          San Francisco, CA 94129-1494
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal Loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 5 of 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy

             Case 19-11130-j7                      Doc 1             Filed 05/13/19             Entered 05/13/19 09:08:44 Page 27 of 57
 Debtor 1 Monica Rene Miranda                                                                             Case number (if known)

 4.1
 3        SYNCB/Amazon PLCC                                           Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          P.O. Box 965015                                             When was the debt incurred?           8/5/2012
          Orlando, FL 32896
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Misc. credit card purchases


 4.1
 4        SYNCB/JC Penney                                             Last 4 digits of account number                                                        $1,497.00
          Nonpriority Creditor's Name
          P.O. Box 965007                                             When was the debt incurred?           10/2/2011
          Orlando, FL 32896-5007
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Misc. credit card purchases


 4.1
 5        Valerie Treseder                                            Last 4 digits of account number                                                      $14,000.00
          Nonpriority Creditor's Name
          3821 La Hacienda Dr. NE                                     When was the debt incurred?           3/26/2018
          Albuquerque, NM 87110
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Personal loan for vehicle payoff




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 6 of 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy

             Case 19-11130-j7                      Doc 1             Filed 05/13/19             Entered 05/13/19 09:08:44 Page 28 of 57
 Debtor 1 Monica Rene Miranda                                                                             Case number (if known)

 4.1
 6         Wells Fargo Card Services                                  Last 4 digits of account number       6057                                                     $3,710.00
           Nonpriority Creditor's Name
           P.O. Box 14517                                             When was the debt incurred?           1/8/2017
           Des Moines, IA 50306
           Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Misc. credit card purchases


 4.1
 7         Wells Fargo Card Services                                  Last 4 digits of account number       4916                                                     $2,967.00
           Nonpriority Creditor's Name
           P.O. Box 14517                                             When was the debt incurred?           7/18/2016
           Des Moines, IA 50306
           Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Line of Credit

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Atlantic Credit & Finance Inc.                                Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 3353 Orange Ave.                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Roanoke, VA 24012
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Atlantic Credit & Finance, Inc.                               Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 2001                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Warren, MI 48090
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cavalry Portfolio Services, LLC                               Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 500 Summit Lake Dr., Suite 4A                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Valhalla, NY 10595
                                                               Last 4 digits of account number                  xx13

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit Control, LLC                                           Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 5757 Phantom Dr., Suite 330                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Hazelwood, MO 63042

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 7 of 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                               Best Case Bankruptcy

             Case 19-11130-j7                      Doc 1             Filed 05/13/19              Entered 05/13/19 09:08:44 Page 29 of 57
 Debtor 1 Monica Rene Miranda                                                                            Case number (if known)

                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Full Circle Financial Services                                Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 2438                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Largo, FL 33779-2438
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Full Circle Financial Services                                Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 11 Spokane St., Suite 306                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Wenatchee, WA 98801
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Guglielmo & Associates                                        Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 41688                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Tucson, AZ 85717
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 MRS Assoc.                                                    Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 1930 Olney Ave.                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Cherry Hill, NJ 08003
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                     1,208.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                     1,208.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                    73,044.97

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                    73,044.97




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 8 of 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy

             Case 19-11130-j7                      Doc 1             Filed 05/13/19              Entered 05/13/19 09:08:44 Page 30 of 57
 Fill in this information to identify your case:

 Debtor 1                  Monica Rene Miranda
                           First Name                         Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name             Last Name


 United States Bankruptcy Court for the:               DISTRICT OF NEW MEXICO

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Comcast                                                                     Home television and internet service
               Attn: Managing Agent
               9602 S. 300 W., Suite B
               Sandy, UT 84070




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy

                Case 19-11130-j7                    Doc 1            Filed 05/13/19     Entered 05/13/19 09:08:44 Page 31 of 57
 Fill in this information to identify your case:

 Debtor 1                     Monica Rene Miranda
                              First Name                          Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)          First Name                          Middle Name            Last Name


 United States Bankruptcy Court for the:                   DISTRICT OF NEW MEXICO

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                       No
                       Yes.


                         In which community state or territory did you live?             New Mexico    . Fill in the name and current address of that person.
                         Steven Rodriquez                                                                     Former spouse
                         6110 Academy Rd. NE, Apt. L94
                         Albuquerque, NM 87109
                         Name of your spouse, former spouse, or legal equivalent
                         Number, Street, City, State & Zip Code

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:


    3.1         Steven Rodriguez                                                                         Schedule D, line
                6110 Academy Rd. NE, Apt. L94                                                            Schedule E/F, line    4.6
                Albuquerque, NM 87109
                                                                                                         Schedule G
                                                                                                       Dell Financial Services




Official Form 106H                                                                 Schedule H: Your Codebtors                                      Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy

                Case 19-11130-j7                        Doc 1           Filed 05/13/19     Entered 05/13/19 09:08:44 Page 32 of 57
Fill in this information to identify your case:

Debtor 1                      Monica Rene Miranda

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF NEW MEXICO

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation            Dental Hygienist
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Dr. Reuben G. Gutierrez, DDS

       Occupation may include student        Employer's address
                                                                   8400 Osuna Rd. NE, Suite 1B
       or homemaker, if it applies.
                                                                   Albuquerque, NM 87111

                                             How long employed there?         16 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $        6,031.57      $               N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      6,031.57            $        N/A




Official Form 106I                                                   Schedule I: Your Income                                                    page 1
               Case 19-11130-j7              Doc 1        Filed 05/13/19   Entered 05/13/19 09:08:44 Page 33 of 57
Debtor 1   Monica Rene Miranda                                                                   Case number (if known)



                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      6,031.57       $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $      1,348.90       $               N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $               N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $        216.67       $               N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $        328.47       $               N/A
     5e.    Insurance                                                                     5e.        $         59.91       $               N/A
     5f.    Domestic support obligations                                                  5f.        $          0.00       $               N/A
     5g.    Union dues                                                                    5g.        $          0.00       $               N/A
     5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +     $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,953.95       $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          4,077.62       $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $               N/A
     8b. Interest and dividends                                                           8b.        $              0.00   $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $               N/A
     8d. Unemployment compensation                                                        8d.        $              0.00   $               N/A
     8e. Social Security                                                                  8e.        $              0.00   $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $               N/A
     8g. Pension or retirement income                                                     8g. $                     0.00   $               N/A
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              4,077.62 + $           N/A = $          4,077.62
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $         4,077.62
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Debtor does not expect to begin receiving court ordered $100 per month




Official Form 106I                                               Schedule I: Your Income                                                          page 2
           Case 19-11130-j7              Doc 1        Filed 05/13/19   Entered 05/13/19 09:08:44 Page 34 of 57
Fill in this information to identify your case:

Debtor 1                 Monica Rene Miranda                                                               Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF NEW MEXICO                                                     MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daughter                             14                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,476.06

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            200.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
           Case 19-11130-j7                 Doc 1         Filed 05/13/19             Entered 05/13/19 09:08:44 Page 35 of 57
Debtor 1     Monica Rene Miranda                                                                       Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 240.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 110.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 128.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                800.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                200.00
10.   Personal care products and services                                                    10. $                                                 100.00
11.   Medical and dental expenses                                                            11. $                                                  50.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 325.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 200.00
14.   Charitable contributions and religious donations                                       14. $                                                 600.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                  142.64
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                   90.00
      15d. Other insurance. Specify: Disability insurance                                  15d. $                                                   73.06
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                               1,002.77
      20b. Real estate taxes                                                               20b. $                                                   0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                   0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                   0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                   0.00
21.   Other: Specify:    Pet expenses                                                        21. +$                                                60.00
      Legal services                                                                              +$                                               26.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       5,823.53
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       5,823.53
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,077.62
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              5,823.53

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             -1,745.91

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: Debtor is in the process of selling or surrendering rental property




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
         Case 19-11130-j7                  Doc 1          Filed 05/13/19              Entered 05/13/19 09:08:44 Page 36 of 57
 Fill in this information to identify your case:

 Debtor 1                    Monica Rene Miranda
                             First Name                     Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name               Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW MEXICO

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                            12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                               Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                  Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Monica Rene Miranda                                                     X
              Monica Rene Miranda                                                         Signature of Debtor 2
              Signature of Debtor 1

              Date       May 13, 2019                                                     Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy




                Case 19-11130-j7                   Doc 1             Filed 05/13/19       Entered 05/13/19 09:08:44 Page 37 of 57
 Fill in this information to identify your case:

 Debtor 1                  Monica Rene Miranda
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW MEXICO

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $25,601.98           Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy

                Case 19-11130-j7                   Doc 1             Filed 05/13/19         Entered 05/13/19 09:08:44 Page 38 of 57
 Debtor 1      Monica Rene Miranda                                                                         Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                              Wages, commissions,                       $73,288.35           Wages, commissions,
 (January 1 to December 31, 2018 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                       $69,985.00           Wages, commissions,
 (January 1 to December 31, 2017 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Pension/Retirement                                          $5,000.00
 the date you filed for bankruptcy:   cash out

 For last calendar year:                           Pension/Retirement                           $21,430.00
 (January 1 to December 31, 2018 )                 cash out

 For the calendar year before that:                Pension/Retirement                           $12,118.00
 (January 1 to December 31, 2017 )                 cash out


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy

             Case 19-11130-j7                      Doc 1             Filed 05/13/19         Entered 05/13/19 09:08:44 Page 39 of 57
 Debtor 1      Monica Rene Miranda                                                                         Case number (if known)



       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Nationstar Mortgage dba Mr.                               Monthly                        $4,428.18         $168,427.09         Mortgage
       Cooper                                                                                                                         Car
       P.O. Box 199111
                                                                                                                                      Credit Card
       Dallas, TX 75235
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe
       Valerie Treseder                                          Monthly                        $3,600.00          $14,000.00       Repayment of loan to pay
       3821 La Hacienda Dr. NE                                                                                                      off vehicle loan
       Albuquerque, NM 87110


8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name
       Steven Rodriguez                                          Monthly                          $420.00            $1,146.65      Monthly payments to Dell
       6110 Academy Rd. NE, Apt. L94                                                                                                Financial Services. Debt is
       Albuquerque, NM 87109                                                                                                        in the name of former
                                                                                                                                    spouse, but collateral was
                                                                                                                                    kept and is used by Debtor.


 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       Discover Bank v. Monica Miranda                           Civil                      Albuquerque Metropolitan                   Pending
       T-4-CV-2018-013322                                                                   Court                                      On appeal
                                                                                            401 Lomas Blvd. NW
                                                                                                                                       Concluded
                                                                                            Albuquerque, NM 87102
                                                                                                                                    Judgment entered




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy

             Case 19-11130-j7                      Doc 1             Filed 05/13/19         Entered 05/13/19 09:08:44 Page 40 of 57
 Debtor 1      Monica Rene Miranda                                                                         Case number (if known)



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                   Value of the
                                                                                                                                                        property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was             Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                      Describe the gifts                                     Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                  Describe what you contributed                          Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       Risen Savior Catholic Community                                 Tithe                                                  $600 monthly           $14,400.00
       7701 Wyoming Blvd. NE
       Albuquerque, NM 87109


 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                                                                                  loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy

             Case 19-11130-j7                      Doc 1             Filed 05/13/19         Entered 05/13/19 09:08:44 Page 41 of 57
 Debtor 1      Monica Rene Miranda                                                                         Case number (if known)



 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                             Description and value of any property                  Date payment              Amount of
       Address                                                         transferred                                            or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       001 Debtorcc, Inc.                                              Credit counseling certificate                          4/29/2019                     $14.95
       378 Summit Ave
       Jersey City, NJ 07306
       debtorcc.org


       Davis Miles McGuire Gardner, PLLC                               Attorney Fees                                          5/3/2019                  $1,492.00
       320 Gold Avenue SW, Suite 1111
       Albuquerque, NM 87102
       rholmes@davismiles.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                             Description and value of any property                  Date payment              Amount of
       Address                                                         transferred                                            or transfer was            payment
                                                                                                                              made
       Freedom Debt Relief                                             Debt consolidation                                     Monthly                   $9,240.00
       P.O. Box 2330
       Phoenix, AZ 85002-2330


18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                    Description and value of                 Describe any property or        Date transfer was
       Address                                                         property transferred                     payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                   Description and value of the property transferred                        Date Transfer was
                                                                                                                                                made




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy

             Case 19-11130-j7                      Doc 1             Filed 05/13/19         Entered 05/13/19 09:08:44 Page 42 of 57
 Debtor 1      Monica Rene Miranda                                                                            Case number (if known)



 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of               Type of account or       Date account was       Last balance
       Address (Number, Street, City, State and ZIP              account number                 instrument               closed, sold,      before closing or
       Code)                                                                                                             moved, or                   transfer
                                                                                                                         transferred
       State Employees Credit Union                              XXXX-                              Checking             4/5/2019                        $0.00
       813 St. Michael's Drive                                                                      Savings
       Santa Fe, NM 87505
                                                                                                    Money Market
                                                                                                    Brokerage
                                                                                                    Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                   Who else had access to it?             Describe the contents         Do you still
       Address (Number, Street, City, State and ZIP Code)              Address (Number, Street, City,                                       have it?
                                                                       State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                        Who else has or had access             Describe the contents         Do you still
       Address (Number, Street, City, State and ZIP Code)              to it?                                                               have it?
                                                                       Address (Number, Street, City,
                                                                       State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                    Where is the property?                 Describe the property                      Value
       Address (Number, Street, City, State and ZIP Code)              (Number, Street, City, State and ZIP
                                                                       Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy

               Case 19-11130-j7                    Doc 1             Filed 05/13/19               Entered 05/13/19 09:08:44 Page 43 of 57
 Debtor 1      Monica Rene Miranda                                                                                Case number (if known)



24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                    Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)              Address (Number, Street, City, State and      know it
                                                                       ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                    Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)              Address (Number, Street, City, State and      know it
                                                                       ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                      Court or agency                            Nature of the case                   Status of the
       Case Number                                                     Name                                                                            case
                                                                       Address (Number, Street, City,
                                                                       State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                   Employer Identification number
       Address                                                                                                         Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                       Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                      Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy

             Case 19-11130-j7                       Doc 1            Filed 05/13/19            Entered 05/13/19 09:08:44 Page 44 of 57
 Debtor 1      Monica Rene Miranda                                                                         Case number (if known)



 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Monica Rene Miranda
 Monica Rene Miranda                                                     Signature of Debtor 2
 Signature of Debtor 1

 Date     May 13, 2019                                                   Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy

             Case 19-11130-j7                      Doc 1             Filed 05/13/19         Entered 05/13/19 09:08:44 Page 45 of 57
 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Monica Rene Miranda
 Debtor 2                                                                                                  1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                           2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            District of New Mexico
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)
                                                                                                           3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                         6,134.53        $
  3. Alimony     and maintenance   payments.   Do not include payments from a spouse if
     Column B is filled in.                                                             $                               0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                               0.00      $
  5. Net income from operating a business, profession, or farm
                                                                        Debtor 1
        Gross receipts (before all deductions)                             $   0.00
        Ordinary and necessary operating expenses                         -$   0.00
        Net monthly income from a business, profession, or farm $              0.00 Copy here -> $                      0.00      $
  6. Net income from rental and other real property
                                                                                 Debtor 1
        Gross receipts (before all deductions)                             $   0.00
        Ordinary and necessary operating expenses                         -$   0.00
        Net monthly income from rental or other real property             $    0.00 Copy here -> $                      0.00      $
                                                                                                       $                0.00      $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                    page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy

                Case 19-11130-j7                   Doc 1             Filed 05/13/19     Entered 05/13/19 09:08:44 Page 46 of 57
 Debtor 1     Monica Rene Miranda                                                                         Case number (if known)



                                                                                                      Column A                     Column B
                                                                                                      Debtor 1                     Debtor 2 or
                                                                                                                                   non-filing spouse
  8. Unemployment compensation                                                                        $                  0.00      $
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                             $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                          $                  0.00      $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                        $                  0.00      $
                                                                                                      $                  0.00      $
                  Total amounts from separate pages, if any.                                     +    $                  0.00      $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                $       6,134.53          +   $                   =   $      6,134.53

                                                                                                                                                   Total current monthly
                                                                                                                                                   income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                                 Copy line 11 here=>            $          6,134.53

              Multiply by 12 (the number of months in a year)                                                                                          x 12
       12b. The result is your annual income for this part of the form                                                                   12b. $          73,614.36

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                   NM

       Fill in the number of people in your household.                         2
       Fill in the median family income for your state and size of household.                                                            13.   $         56,124.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Monica Rene Miranda
                Monica Rene Miranda
                Signature of Debtor 1
        Date May 13, 2019
             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy

              Case 19-11130-j7                     Doc 1             Filed 05/13/19       Entered 05/13/19 09:08:44 Page 47 of 57
 Fill in this information to identify your case:                                                                  Check the appropriate box as directed in
                                                                                                                  lines 40 or 42:
 Debtor 1            Monica Rene Miranda
                                                                                                                      According to the calculations required by this
 Debtor 2                                                                                                             Statement:
 (Spouse, if filing)
                                                                                                                         1. There is no presumption of abuse.
 United States Bankruptcy Court for the:            District of New Mexico
                                                                                                                         2. There is a presumption of abuse.
 Case number
 (if known)
                                                                                                                      Check if this is an amended filing
Official Form 122A - 2
Chapter 7 Means Test Calculation                                                                                                                                 04/19

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

 Part 1:       Determine Your Adjusted Income

 1.    Copy your total current monthly income.                                Copy line 11 from Official Form 122A-1 here=>........       $              6,134.53

 2.    Did you fill out Column B in Part 1 of Form 122A-1?
           No. Fill in $0 for the total on line 3.
           Yes. Is your spouse Filing with you?
              No.         Go to line 3.
              Yes.        Fill in $0 for the total on line 3.

 3.    Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for the
       household expenses of you or your dependents. Follow these steps:

       On line 11, Column B of Form 122A–1, was any amount of the income you reported for your spouse NOT regularly used for the household
       expenses of you or your dependents?


           No. Fill in 0 for the total on line 3.
           Yes. Fill in the information below:

               State each purpose for which the income was used                                     Fill in the amount you
               For example, the income is used to pay your spouse's tax debt or to                  are subtracting from
               support other than you or your dependents.                                           your spouse's income

                                                                                                $

                                                                                                $

                                                                                                $

                     Total.                                                                     $              0.00

                                                                                                                       Copy total here=>...    -$              0.00


 4.    Adjust your current monthly income. Subtract line 3 from line 1.                                                                       $       6,134.53




Official Form 122A-2                                                   Chapter 7 Means Test Calculation                                                     page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy

             Case 19-11130-j7                      Doc 1             Filed 05/13/19       Entered 05/13/19 09:08:44 Page 48 of 57
 Debtor 1         Monica Rene Miranda                                                                 Case number (if known)



 Part 2:           Calculate Your Deductions from Your Income

    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
    to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
    instructions for this form. This information may also be available at the bankruptcy clerk's office.

    Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of
    your actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted fro your spouse's
    income in line 3 and do not deduct any operating expenses that you subtracted from in income in lines 5 and 6 of form 122A-1.

    If your expenses differ from month to month, enter the average expense.

    Whenever this part of the from refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.


    5.      The number of people used in determining your deductions from income

            Fill in the number of people who could be claimed as exemptions on your federal income tax return,
            plus the number of any additional dependents whom you support. This number may be different from                              2
            the number of people in your household.



    National Standards                   You must use the IRS National Standards to answer the questions in lines 6-7.



    6.      Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
            Standards, fill in the dollar amount for food, clothing, and other items.                                                         $          1,288.00


    7.      Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
            the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
            people who are 65 or older--because older people have a higher IRS allowance for health care costs. If your actual expenses are
            higher than this IRS amount, you may deduct the additional amount on line 22.



    People who are under 65 years of age

            7a. Out-of-pocket health care allowance per person                $        55.00

            7b. Number of people who are under 65                             X         2

            7c. Subtotal. Multiply line 7a by line 7b.                        $       110.00          Copy here=>        $           110.00


    People who are 65 years of age or older

            7d. Out-of-pocket health care allowance per person                $       114.00

            7e. Number of people who are 65 or older                          X         0

            7f.    Subtotal. Multiply line 7d by line 7e.                     $         0.00          Copy here=>       +$              0.00


            7g. Total. Add line 7c and line 7f                                                 $     110.00                    Copy total here=> $      110.00




Official Form 122A-2                                                   Chapter 7 Means Test Calculation                                                     page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy

              Case 19-11130-j7                     Doc 1             Filed 05/13/19         Entered 05/13/19 09:08:44 Page 49 of 57
 Debtor 1     Monica Rene Miranda                                                                         Case number (if known)


    Local Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.


    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes into two parts:

         Housing and utilities - Insurance and operating expenses
         Housing and utilities - Mortgage or rent expenses

    To answer the questions in lines 8-9, use the U.S. Trustee Program chart.

    To find the chart, go online using the link specified in the separate instructions for this form.
    This chart may also be available at the bankruptcy clerk's office.


    8.      Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill
            in the dollar amount listed for your county for insurance and operating expenses. ........................................... $                         521.00

    9.      Housing and utilities - Mortgage or rent expenses:

            9a. Using the number of people you entered in line 5, fill in the dollar amount
                listed for your county for mortgage or rent expenses...................................                       $       1,111.00

            9b. Total average monthly payment for all mortgages and other debts secured by your home.

                 To calculate the total average monthly payment, add all amounts that are
                 contractually due to each secured creditor in the 60 months after you file
                 for bankruptcy. Then divide by 60.

                 Name of the creditor                                               Average monthly
                                                                                    payment

                 Nationstar Mortgage dba Mr. Cooper                                 $          1,476.06


                                                                                                                                                      Repeat this
                                                                                                           Copy                                       amount on
                                         Total average monthly payment              $          1,476.06    here=>        -$               1,476.06    line 33a.


            9c. Net mortgage or rent expense.

                 Subtract line 9b (total average monthly payment) from line 9a (mortgage                                                     Copy
                 or rent expense). If this amount is less than $0, enter $0. ........................         $                    0.00      here=>    $               0.00


    10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
        affects the calculation of your monthly expenses, fill in any additional amount you claim.                                                    $                0.00

             Explain why:

    11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

               0. Go to line 14.

               1. Go to line 12.

               2 or more. Go to line 12.


    12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
        operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                           $             205.00




Official Form 122A-2                                                   Chapter 7 Means Test Calculation                                                             page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy

              Case 19-11130-j7                     Doc 1             Filed 05/13/19           Entered 05/13/19 09:08:44 Page 50 of 57
 Debtor 1     Monica Rene Miranda                                                                                 Case number (if known)



    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
        You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
        more than two vehicles.


     Vehicle 1         Describe Vehicle 1:
                                                  2016 Mazda CX-5 Touring 55,219 miles 4 door

    13a. Ownership or leasing costs using IRS Local Standard..........................................                  $              0.00

    13b. Average monthly payment for all debts secured by Vehicle 1.
            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all amounts that
            are contractually due to each secured creditor in the 60 months after you filed for
            bankruptcy. Then divide by 60.

                 Name of each creditor for Vehicle 1                               Average monthly
                                                                                   payment

                 -NONE-                                                             $

                                                                                                                                                      Repeat this
                                                                                                                   Copy                               amount on
                                         Total Average Monthly Payment              $                0.00          here =>       -$           0.00    line 33b.




    13c. Net Vehicle 1 ownership or lease expense                                                                                                 Copy net
                                                                                                                                                  Vehicle 1
            Subtract line 13b from line 13a. if this amount is less than $0, enter $0.                                                            expense
                                                                                                                        $              0.00       here => $                   0.00



     Vehicle 2         Describe Vehicle 2:


    13d. Ownership or leasing costs using IRS Local Standard...................................................         $              0.00

    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
         leased vehicles.

                 Name of each creditor for Vehicle 2                               Average monthly
                                                                                   payment

                                                                                    $

                                                                                                                   Copy                            Repeat this
                                                                                                                   here                            amount on
                                         Total Average Monthly Payment              $                                                      0.00    line 33c.
                                                                                                                   =>       -$


    13f. Net Vehicle 2 ownership or lease expense                                                                                                 Copy net
                                                                                                                                                  Vehicle 2
            Subtract line 13e from line 13d. if this amount is less than $0, enter $0. ......................                                     expense
                                                                                                                        $              0.00       here => $                   0.00


    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
        Transportation expense allowance regardless of whether you use public transportation.                                                                $                0.00

    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
        also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
        not claim more than the IRS Local Standard for Public Transportation.                                                                                $                0.00




Official Form 122A-2                                                   Chapter 7 Means Test Calculation                                                                    page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy

              Case 19-11130-j7                     Doc 1             Filed 05/13/19           Entered 05/13/19 09:08:44 Page 51 of 57
 Debtor 1     Monica Rene Miranda                                                                     Case number (if known)




    Other Necessary Expenses                In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                            the following IRS categories.

    16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,
        self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
        your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
        and subtract that number from the total monthly amount that is withheld to pay for taxes.
            Do not include real estate, sales, or use taxes.                                                                             $       1,364.66

    17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
        contributions, union dues, and uniform costs.
            Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.         $             0.00

    18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
        filing together, include payments that you make for your spouse's term life insurance. Do not include premiums for life
        insurance on your dependents, for a non-filing spouse's life insurance, or for any form of life insurance other than
        term.                                                                                                                            $         113.00

    19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
        administrative agency, such as spousal or child support payments.
            Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.    $             0.00

    20. Education: The total monthly amount that you pay for education that is either required:
               as a condition for your job, or
               for your physically or mentally challenged dependent child if no public education is available for similar services.      $             0.00

    21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
            Do not include payments for any elementary or secondary school education.                                                    $             0.00

    22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
        that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
        by a health savings account. Include only the amount that is more than the total entered in line 7.
            Payments for health insurance or health savings accounts should be listed only in line 25.                                   $             0.00

    23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
        for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
        phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
        income, if it is not reimbursed by your employer.
            Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
            expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.                  +$             0.00



    24. Add all of the expenses allowed under the IRS expense allowances.                                                               $     3,601.66
        Add lines 6 through 23.




Official Form 122A-2                                                   Chapter 7 Means Test Calculation                                             page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy

              Case 19-11130-j7                     Doc 1             Filed 05/13/19      Entered 05/13/19 09:08:44 Page 52 of 57
 Debtor 1     Monica Rene Miranda                                                                     Case number (if known)



    Additional Expense Deductions                 These are additional deductions allowed by the Means Test.
                                                  Note: Do not include any expense allowances listed in lines 6-24.

    25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
        insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
        your dependents.
            Health insurance                                                  $         0.00
            Disability insurance                                              $       123.75
            Health savings account                                          +$          0.00


            Total                                                             $        123.75     Copy total here=>                $          123.75


            Do you actually spend this total amount?

                    No. How much do you actually spend?
                    Yes                                                       $

    26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
        continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
        your household or member of your immediate family who is unable to pay for such expenses. These expenses may
        include contributions to an account of a qualified ABLE program. 26 U.S.C.§ 529A(b).                                        $             0.00
    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
        safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

            By law, the court must keep the nature of these expenses confidential.                                                  $             0.00
    28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
        line 8.

            If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
            8, then fill in the excess amount of home energy costs.

            You must give your case trustee documentation of your actual expenses, and you must show that the additional
            amount claimed is reasonable and necessary.                                                                             $             0.00
    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
        $170.83* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
        public elementary or secondary school.

            You must give your case trustee documentation of your actual expenses, and you must explain why the amount
            claimed is reasonable and necessary and not already accounted for in lines 6-23.

            * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.    $             0.00
    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
        higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
        than 5% of the food and clothing allowances in the IRS National Standards.

            To find a chart showing the maximum additional allowance, go online using the link specified in the separate
            instructions for this form. This chart may also be available at the bankruptcy clerk's office.

            You must show that the additional amount claimed is reasonable and necessary.                                           $             0.00
    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
        instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).                                          +$         600.00


    32. Add all of the additional expense deductions.                                                                              $       723.75
        Add lines 25 through 31.




Official Form 122A-2                                                   Chapter 7 Means Test Calculation                                        page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy

              Case 19-11130-j7                     Doc 1             Filed 05/13/19      Entered 05/13/19 09:08:44 Page 53 of 57
 Debtor 1    Monica Rene Miranda                                                                                 Case number (if known)



    Deductions for Debt Payment

    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
        loans, and other secured debt, fill in lines 33a through 33e.
        To calculate the total average monthly payment, add all amounts that are contractually due to each secured
        creditor in the 60 months after you file for bankruptcy. Then divide by 60.

             Mortgages on your home:                                                                                                                   Average monthly
                                                                                                                                                       payment
    33a.     Copy line 9b here                                                                                                                  =>     $        1,476.06
             Loans on your first two vehicles:
    33b.     Copy line 13b here                                                                                                                 =>     $              0.00
    33c.     Copy line 13e here                                                                                                                 =>     $              0.00
    33d.     List other secured debts:
    Name of each creditor for other secured debt                     Identify property that secures the debt                    Does payment
                                                                                                                                include taxes or
                                                                                                                                insurance?

                                                                     Profit-Sharing Plan: Reuben G.
            Reuben G. Gutierrez DDS Profit                                                                                                No
                                                                     Gutierrez, DDS 401(k) Profit Sharing
            Sharing                                                  Plan                                                                 Yes          $            92.08
                                                                     7405 Sky Court Cir. NE Albuquerque,
                                                                     NM 87110 Bernalillo County
                                                                     3 bedroom, 1 bath, subject to lien of
                                                                     $136,364.89 by Wells Fargo Home
                                                                     Mortgage. Property needs significant                                 No
                                                                     repairs. Value based on current
            Wells Fargo Home Mortgage                                condition and needed repairs                                         Yes          $        1,057.41

                                                                                                                                          No
                                                                                                                                          Yes        +$


                                                                                                                                                   Copy
                                                                                                                                                   total
    33e. Total average monthly payment. Add lines 33a through 33d                                                    $           2,625.55          here=>   $     2,625.55

    34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
        or other property necessary for your support or the support of your dependents?
             No.     Go to line 35.
             Yes. State any amount that you must pay to a creditor, in addition to the payments
                  listed in line 33, to keep possession of your property (called the cure amount).
                  Next, divide by 60 and fill in the information below.

     Name of the creditor                                    Identify property that secures the debt                         Total cure                     Monthly cure
                                                                                                                             amount                         amount

                                                             7405 Sky Court Cir. NE Albuquerque,
                                                             NM 87110 Bernalillo County
                                                             3 bedroom, 1 bath, subject to lien of
                                                             $136,364.89 by Wells Fargo Home
                                                             Mortgage. Property needs significant
                                                             repairs. Value based on current
     Wells Fargo Home Mortgage                               condition and needed repairs                                $       4,438.62 ÷ 60 = $                  73.98
                                                                                                                         $                      ÷ 60 = $
                                                                                                                         $                      ÷ 60 = +$


                                                                                                                                                   Copy
                                                                                                                                                   total
                                                                                                               Total $                73.98        here=>   $            73.98



Official Form 122A-2                                                     Chapter 7 Means Test Calculation                                                               page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                               Best Case Bankruptcy

             Case 19-11130-j7                      Doc 1             Filed 05/13/19             Entered 05/13/19 09:08:44 Page 54 of 57
 Debtor 1    Monica Rene Miranda                                                                      Case number (if known)

    35. Do you owe any priority claims such as a priority tax, child support, or alimony - that
        are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

             No.     Go to line 36.
             Yes. Fill in the total amount of all of these priority claims. Do not include current or
                  ongoing priority claims, such as those you listed in line 19.
                      Total amount of all past-due priority claims                                        $           1,208.00 ÷ 60 = $           20.13




Official Form 122A-2                                                   Chapter 7 Means Test Calculation                                          page 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy

             Case 19-11130-j7                      Doc 1             Filed 05/13/19      Entered 05/13/19 09:08:44 Page 55 of 57
 Debtor 1     Monica Rene Miranda                                                                          Case number (if known)



    36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
        For more information, go online using the link for Bankruptcy Basics specified in the separate
        instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.

              No. Go to line 37.
              Yes. Fill in the following information.
                     Projected monthly plan payment if you were filing under Chapter 13                        $
                     Current multiplier for your district as stated on the list issued by the
                     Administrative Office of the United States Courts (for districts in Alabama
                     and North Carolina) or by the Executive Office for United States Trustees
                     (for all other districts).                                                               X


                     To find a list of district multipliers that includes your district, go online using
                     the link specified in the separate instructions for this form. This list may also
                     be available at the bankruptcy clerk’s office.
                                                                                                                                             Copy total
                     Average monthly administrative expense if you were filing under Chapter 13                    $                         here=> $




    37. Add all of the deductions for debt payment.                                                                                                           $     2,719.66
        Add lines 33e through 36.

    Total Deductions from Income

    38. Add all of the allowed deductions.
            Copy line 24, All of the expenses allowed under IRS
            expense allowances                                                        $          3,601.66
            Copy line 32, All of the additional expense deductions                    $              723.75
            Copy line 37, All of the deductions for debt payment                     +$          2,719.66


                                                                Total deductions      $          7,045.07              Copy total here...........=>       $            7,045.07


 Part 3:        Determine Whether There is a Presumption of Abuse

    39. Calculate monthly disposable income for 60 months
            39a. Copy line 4, adjusted current monthly income                         $          6,134.53
            39b. Copy line 38,Total deductions                                      -$           7,045.07

            39c. Monthly disposable income. 11 U.S.C. § 707(b)(2).                                                     Copy
                 Subtract line 39b from line 39a                                      $              -910.54           here=>$                    -910.54


            For the next 60 months (5 years)                                                                                          x 60

                                                                                                                                    Copy
            39d. Total. Multiply line 39c by 60                                           39d.   $            -54,632.40            here=>            $           -54,632.40


    40. Find out whether there is a presumption of abuse. Check the box that applies:

              The line 39d is less than $8,175*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to Part 5.

              The line 39d is more than $13,650*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You may fill out
              Part 4 if you claim special circumstances. Go to Part 5.

              The line 39d is at least $8,175*, but not more than $13,650*. Go to line 41.

        *Subject to adjustment on 4/01/22, and every 3 years after that for cases filed on or after the date of adjustment.




Official Form 122A-2                                                   Chapter 7 Means Test Calculation                                                                   page 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy

              Case 19-11130-j7                     Doc 1             Filed 05/13/19       Entered 05/13/19 09:08:44 Page 56 of 57
 Debtor 1     Monica Rene Miranda                                                                                                Case number (if known)




    41.       41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out
                   A Summary of Your Assets and Liabilities and Certain Statistical Information
                   Schedules (Official Form 106Sum), you may refer to line 3b on that form.                                               $
                                                                                                                                              x    .25
                                                                                                                                                           Copy
              41b. 25% or your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I)                                           $                here=>   $
                     Multiply line 41a by 0.25.....................................................................................

    42. Determine whether the income you have left over after subtracting all allowed deductions is enough to pay
        25% of your unsecured, nonpriority debt.
        Check the box that applies:

              Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
              Go to Part 5.

              Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a
              presumption of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.


 Part 4:        Give Details About Special Circumstances

 43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
     reasonable alternative? 11 U.S.C. § 707(b)(2)(B).


            No. Go to Part 5.

            Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment for each
                 item. You may include expenses you listed in line 25.

                 You must give a detailed explanation of the special circumstances that make the expenses or income adjustments
                 necessary and reasonable. You must also give your case trustee documentation of your actual expenses or income
                 adjustments.



                  Give a detailed explanation of the special circumstances                                                       Average monthly expense
                                                                                                                                 or income adjustment

                                                                                                                                      $

                                                                                                                                      $

                                                                                                                                      $

                                                                                                                                      $


 Part 5:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Monica Rene Miranda
                 Monica Rene Miranda
                 Signature of Debtor 1
          Date May 13, 2019
               MM / DD / YYYY




Official Form 122A-2                                                           Chapter 7 Means Test Calculation                                                                page 10
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                      Best Case Bankruptcy

              Case 19-11130-j7                         Doc 1             Filed 05/13/19                      Entered 05/13/19 09:08:44 Page 57 of 57
